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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA,                   §
                                            §
                            Plaintiffs,     §
                                            § Criminal No. 3:17-CR-460-D(11)
VS.                                         §
                                            §
BAZAVIOUS RIVERS,                           §
                                            §
                            Defendant.      §

                               MEMORANDUM OPINION
                                   AND ORDER

       Defendant Bazavious Rivers moves to sever his trial from the trial of his

codefendants, asserting his rights under the Speedy Trial Act, 18 U.S.C. §§ 3163-3174, and

moves for a speedy trial. For the reasons that follow, the court denies the motion for

severance and grants the motion for a speedy trial to the extent that the trial setting will

comply with the requirements of the Speedy Trial Act and the Sixth Amendment.

                                              I

       On September 12, 2017 the grand jury indicted Rivers and 11 other defendants on

various drug and weapon charges. Count One charges a conspiracy to distribute cocaine;

Count Two charges the offense of possession with intent to distribute marijuana, and aiding

and abetting; and Count Three charges possession of a semiautomatic assault weapon in

furtherance of a drug trafficking crime. Federal agents arrested Rivers on this indictment on

September 20, 2017 and filed a motion for pretrial detention the next day. Rivers’ initial

appearance was conducted on September 21, 2017. He waived his right to a detention
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hearing at his initial appearance.

       In its first trial scheduling order, the court set defendants’ trial for January 29, 2018.

The court has since continued this date three times, each time in response to a defense

motion. On December 20, 2017 defendant Denton Allmon (“Allmon”) moved to continue

the trial setting and related pretrial deadlines. Rivers’ then-counsel, Albert Munguia, Esquire

(“Munguia”), did not oppose the motion or assert Rivers’ speedy trial rights. The court

granted Allmon’s motion, finding that the ends of justice served by granting the continuance

outweighed the interest of the public and defendant in a speedy trial. The court continued

the trial of all other defendants, including Rivers, citing 18 U.S.C. § 3161(h)(6), a provision

of the Speedy Trial Act, which excludes from the speedy clock calculation “[a] reasonable

period of delay when the defendant is joined for trial with a codefendant as to whom the time

for trial has not run and no motion for severance has been granted[.]”

       After the first continuance, the grand jury handed up a second superseding indictment

on January 9, 2018. The second superseding indictment added two defendants and extended

the end-date of the alleged conspiracy.

       On February 5 and 8, 2018 Munguia moved to withdraw as Rivers’ counsel. On

February 9, 2018 the magistrate judge granted the motions and appointed Rivers’ current

counsel.

       On February 6, 2018 defendant Jacqueray Adams (“Adams”) moved to continue the

trial, citing the need for more time to prepare because his counsel had just recently been

retained. Munguia, who had moved to withdraw as Rivers’ counsel, did not respond when

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Adams’ counsel attempted to confer regarding the motion, or otherwise assert Rivers’ speedy

trial rights. The court granted Adams’ motion and continued the trial to July 30, 2018.

       On March 11, 2018 Adams’ retained counsel moved to withdraw. After the

magistrate judge granted that motion and appointed new counsel, Adams’ third lawyer filed

an unopposed motion for continuance on May 21, 2018. Rivers—now represented by his

second appointed counsel—opposed the motion and filed the instant May 24, 2018 motion

for severance, contending that further delay in reaching the case for trial violates his right

to a speedy trial. While Rivers’ motion was pending, the court granted Adams’ May 21,

2018 motion and continued the trial to October 9, 2018, the current trial date. The

government opposes Rivers’ motion.

                                              II

       “It is well settled in this circuit that codefendants who are indicted together should be

tried together.” See United States v. Oliver, 2008 WL 2511751, at *1 (N.D. Tex. Jun. 23,

2008) (Fitzwater, C.J.) (citing United States v. Lopez, 979 F.2d 1024, 1035 (5th Cir. 1992)).

“Joinder is the rule rather than the exception.” United States v. Mikolajczyk, 137 F.3d 237,

240 (5th Cir. 1998). In particular, codefendants charged with conspiracy should be tried

together. See United States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir. 1993); United States

v. Kahaner, 203 F. Supp. 78, 80-81 (S.D.N.Y. 1962) (noting that persons who are indicted

together should be tried together particularly “where the indictment charges a conspiracy or

a crime which may be proved against all the defendants by the same evidence”), aff’d, 317



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F.2d 459 (2d Cir. 1963). The court should grant a severance only upon finding that there is

a serious risk that a joint trial would compromise a specific trial right of one defendant, or

prevent the jury from making a reliable judgment on guilt. See United States v. Neal, 27

F.3d 1035, 1045 (5th Cir. 1994) (citing Zafiro v. United States, 506 U.S. 534, 539 (1993)).

       To decide Rivers’ motion for severance, the court must balance the potential prejudice

to Rivers against the public interest in joint trials. See Oliver, 2008 WL 2511751, at *1

(citing United States v. Berkowitz, 662 F.2d 1127, 1132 (5th Cir. Unit B Dec. 1981)). To

obtain a trial severance, Rivers must do more than show some prejudice; he must

demonstrate that he will receive an unfair trial and suffer specific and compelling prejudice

against which the court cannot protect him. See United States v. Mitchell, 484 F.3d 762, 775

(5th Cir. 2007).

                                              III

       Rivers’ sole basis for seeking a severance is the assertion that the failure to sever his

trial from that of his codefendants will violate his right to a speedy trial under the Speedy

Trial Act and the Sixth Amendment.

                                              A

       The Speedy Trial Act requires that a trial commence within 70 days from the later of

the date the indictment is filed and made public or the date the defendant appears for his

initial appearance before a judicial officer of the court in which the charge is pending. See

18 U.S.C. § 3161(c)(1). But certain periods of time are excluded from the speedy trial clock,



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including “[a]ny period of delay resulting from a continuance granted by any judge . . . on

the basis of his findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

In granting an “ends of justice” continuance, the court may do so on the basis that “failure

to grant such a continuance . . . would deny counsel for the defendant . . . the reasonable time

necessary for effective preparation taking into account the exercise of due diligence.” Id.

§ 3161(h)(7)(B)(iv).

       Rivers maintains that this case is not complex and, consequently, that no continuance

can be justified under the Speedy Trial Act. The court disagrees. A case need not qualify

as “complex” under the Speedy Trial Act to justify a trial continuance. Indeed, §

3161(h)(7)(B)(iv) specifically contemplates granting an “ends of justice” continuance “in

a case which, taken as a whole, is not so unusual or so complex as to fall within clause (ii),”

i.e., a case that does not qualify as “complex” under § 3161(h)(7)(B)(ii). In the present case,

the court granted “ends of justice” continuances in response to three defense motions:

Allmon’s December 20, 2017 motion, and Adams’ February 6, 2018 and May 21, 2018

motions. In each motion, one of Rivers’ codefendants requested a continuance, and the court

granted an “ends of justice” under § 3161(h)(7)(B)(iv). After considering each motion, the

court explicitly found in its orders that (1) the ends of justice served by the granting of a trial

continuance outweighed the best interests of the public and the defendant in a speedy trial;

(2) the failure to grant a continuance would deny defendant’s counsel the reasonable time



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necessary for effective preparation, taking into account the exercise of due diligence; and (3)

taking into account the exercise of due diligence by defense counsel, a continuance was

necessary for effective preparation by defense counsel. It also concluded that continuing the

trials of the codefendants who had not moved for a continuance complied with 18 U.S.C. §

3161(h)(6), a provision of the Speedy Trial Act that excludes from the speedy clock

calculation “[a] reasonable period of delay when the defendant is joined for trial with a

codefendant as to whom the time for trial has not run and no motion for severance has been

granted[.]” 18 U.S.C. § 3161(h)(6) (emphasis added).

       Rivers has not demonstrated any basis to undermine these findings or to challenge the

continuances, each of which was granted in response to a defense motion. Therefore, the

current trial date of October 9, 2018 fully complies with the requirements of the Speedy Trial

Act, and Rivers is not entitled to a severance on the basis that delay is violating his rights

under the Act.

                                              B

       Rivers’ right to a speedy trial is also guaranteed by the Sixth Amendment. But “[i]t

will be the unusual case . . . where the time limits under the Speedy Trial Act have been

satisfied but the right to a speedy trial under the Sixth Amendment has been violated.” See

United States v. Newton, 2010 WL 769507, at *3 (N.D. Tex. Mar. 8, 2010) (Fitzwater, C.J.)

(quoting United States v. Bieganowski, 313 F.3d 264, 284 (5th Cir. 2002)).

       To decide whether Rivers’ Sixth Amendment speedy trial right has been violated, the

court applies the four-factor test set out in Barker v. Wingo, 407 U.S. 514, 530 (1972), which

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considers “(1) ‘length of delay,’ (2) ‘the reason for the delay,’ (3) ‘the defendant’s assertion

of his right,’ and (4) ‘prejudice to the defendant.’” United States v. Molina-Solorio, 577 F.3d

300, 304 (5th Cir. 2009) (quoting Barker, 407 U.S. at 530). The length of delay is a

threshold inquiry—where the delay between the indictment and trial exceeds one year, the

court should “undertake[] a full Barker analysis, looking to the first three factors to decide

whether prejudice will be presumed.” Molina-Solorio, 577 F.3d at 304 (internal quotation

marks omitted); see also United States v. Jackson, 549 F.3d 963, 971 (5th Cir. 2008).

“Prejudice may be presumed where the first three factors weigh heavily in the defendant’s

favor.” United States v. Parker, 505 F.3d 323, 328 (5th Cir. 2007) (quoting United States

v. Hernandez, 457 F.3d 416, 421 (5th Cir. 2006)) (internal quotation marks omitted). Under

the current trial setting order, by the time the trial commences, more than one year will have

elapsed since Rivers was indicted; therefore, the court will evaluate the first three factors to

determine whether to presume prejudice.

                                               C

                                               1

       The length of the delay in Rivers’ case is not long enough to presume prejudice based

on this factor alone. See Parker, 505 F.3d at 328-29 (“We have held that delays of less than

five years are not enough, by duration alone, to presume prejudice.”). The court will assume,

without deciding, that the delay is approximately 1 year and 27 days. This factor does not

weigh in Rivers’ favor. See id. at 329 n.2 (citing cases that hold that fourteen months, sixteen

months, and three years and nine months are insufficient delays to presume prejudice).

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                                              2

       Second, the reason for the delay weighs against Rivers. “In examining the reasons for

the delay, we must heed the Supreme Court’s warning that ‘pretrial delay is often both

inevitable and wholly justifiable.’” Neal, 27 F.3d at 1043 (quoting Doggett v. United States,

505 U.S. 647, 656 (1992)). This principle applies in this case, where the delay results from

several defense requests for continuances. See United States v. Washington, 2009 WL

1664570, at *4 (W.D. La. June 11, 2009) (citing Neal, 27 F.3d at 1043). “Because the delays

were not the result of the government’s negligence or bad faith, but instead are attributable

to [Rivers’] co-defendants, this factor weighs in favor of the state.” United States v. Wood,

248 F.3d 1143, 2001 WL 185047, at *3 (5th Cir. 2001) (per curiam).

                                              3

       Although in his motion Rivers asserts his right to a speedy trial, he has not diligently

pursued that right. This is Rivers’ first objection to a codefendant’s request for a trial

continuance. Before his current counsel1 was appointed, he explicitly consented to the first

continuance and was silent as to the second. Even if the court were to excuse Rivers’ lack

of an objection to the second continuance based on the impending change in Rivers’ counsel,

this factor is alone insufficient to establish a presumption of prejudice. Because the first

three Barker factors must weigh heavily in Rivers’ favor to support a presumption of

prejudice, the court holds that prejudice is not presumed.


       1
       Paul T. Lund, Esquire, who currently represents Rivers, was appointed on February
9, 2018 and objected to the first continuance sought while he has been Rivers’ counsel.

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                                               4

       Because prejudice is not presumed, Rivers must “demonstrate ‘actual prejudice’ that

outweighs the other factors.” Newton, 2010 WL 769507, at *3 (citing United States v.

Harris, 566 F.3d 422, 433 (5th Cir. 2009)). “‘Actual prejudice’ is assessed in light of the

three following interests of the defendant: (1) ‘to prevent oppressive pretrial incarceration’;

(2) ‘to minimize anxiety and concern of the accused’; and (3) ‘to limit the possibility that the

defense will be impaired.’” Id. (quoting Harris, 566 F.3d at 433). A defendant’s prejudice

due to an impaired defense is the most serious concern. See Barker, 407 U.S. at 532. Rivers

maintains he has experienced actual prejudice under the first and the third interests.

       Rivers first contends that his continued incarceration for the mere allegations of

crimes results in actual prejudice. This conclusory assertion, however, is not supported by

facts or case law in Rivers’ brief. As explained supra in § III(A), the court has found that

the detention for a little over one year is justified in this case. Furthermore, “[a] lengthy

pretrial incarceration does not inherently offend a defendant’s liberty interests” to the extent

needed to demonstrate the actual prejudice of a Sixth Amendment violation. United States

v. Frye, 489 F.3d 201, 213 (5th Cir. 2007).2 Therefore, Rivers has failed to demonstrate

actual prejudice under this interest.


       2
        Although Rivers is of course presumed to be innocent of the charges against him, if
he is found guilty at trial, he will receive credit for his time in detention between his arrest
and trial. See, e.g., Frye, 489 F.3d at 213; Gray v. King, 724 F.2d 1199, 1204 (5th Cir.
1984); see also 18 U.S.C. § 3585(b) (“A defendant shall be given credit toward the service
of a term of imprisonment for any time he has spent in official detention prior to the date the
sentence commences as a result of the offense for which the sentence was imposed[.]”).

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        Rivers also maintains that he is prejudiced because “as . . . more time passes, the less

 reliable witness memory becomes and the more remote in time critical occurrences during

 the frame of the indictment are.” D. Mot. for Severance 5. He contends that this will make

 presenting such evidence difficult at trial. But “[t]his blanket statement gives no indication

 as to the content and relevance of the lost testimony, and how its absence impaired [Rivers’]

 defense; nor does [Rivers] explain why he or his attorneys failed to take any steps to preserve

 this testimony for trial” or are otherwise unable to do so now. Washington, 2009 WL

 1664570, at *5 (citing Neal, 27 F.3d at 1043). As a result, Rivers has not demonstrated

 actual prejudice under this factor either.

        Because Rivers has failed to make the required showing of actual prejudice, he has

 not demonstrated that his Sixth Amendment right to a speedy trial has been violated.

                                              *     *      *

        For the reasons explained, the court denies Rivers’ motion for severance. The court

 grants Rivers’ motion for a speedy trial to the extent that the trial setting will comply with

 the requirements of the Speedy Trial Act and of the Sixth Amendment.

        SO ORDERED.

        July 24, 2018.



                                                  _________________________________
                                                  SIDNEY A. FITZWATER
                                                  UNITED STATES DISTRICT JUDGE



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